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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

VICTORIA PETERSON,                                     )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     ) CIVIL ACTION NO. 2:18-cv-864-SRW
                                                       )
CREDIT ACCEPTANCE CORPORATION,                         )
                                                       )
       Defendant.                                      )

                                            ORDER

       This matter is before the court on the parties’ “Stipulated Order Compelling Arbitration,”

see Doc. 9, which the court construes as a joint motion to compel arbitration and dismiss this case

with prejudice, see Doc. 12. On December 18, 2018, the parties consented to the exercise of final

dispositive jurisdiction over this cause by the undersigned pursuant to 28 U.S.C. § 636(c). See

Doc. 13; Doc. 14.

       Upon consideration, and for good cause, it is

       ORDERED, ADJUDGED, and DECREED as follows:

       (1) The parties’ “Stipulated Order Compelling Arbitration” is construed as a joint motion

           to compel arbitration and dismiss this case with prejudice. See Doc. 9; Doc. 12. The

           construed joint motion to compel arbitration and dismiss this case (Doc. 9) is

           GRANTED.

       (2) All claims asserted by plaintiff against defendant are hereby DISMISSED WITH

           PREJUDICE, with each party to bear its own costs and attorneys’ fees.

       (3) The clerk is DIRECTED to close this file. This order constitutes a final judgment

           pursuant to Federal Rule of Civil Procedure 58.




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Done, on this the 16th day of January, 2019.

                                               /s/ Susan Russ Walker
                                               Susan Russ Walker
                                               United States Magistrate Judge




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